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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA


vs.                                         Case No.   2:05-cr-71-FtM-33DNF


JARROD T. WARE

_____________________________________/


                                    ORDER

      This matter comes before the Court on Defendant’s Appellate

Brief (Doc. # 207), filed on October 12, 2005.           The Government did

not file a responsive brief.

      On August 22, 2005, after conducting a hearing, the Honorable

Douglas N. Frazier, United States Magistrate Judge, entered an

Order of Detention Pending Trial as to Defendant Ware. (Doc. # 77).

Among other things, Judge Frazier determined that Defendant should

remain   in   custody    pending   trial    because    Defendant   has   prior

convictions for drug possession, crimes of violence, and has had

several violations of probation and failures to appear (Doc. # 77

at 1).    Further, in determining that Defendant should remain in

custody pending trial, Judge Frazier noted that he considered the

pretrial services report, the proffers and arguments of counsel,

the nature and circumstances of the offense, and the weight of the

evidence against the defendant. (Id.)

      After Judge Frazier entered his order of detention, Defendant

filed a Motion for Rehearing on Bond (Doc. # 120).                 Defendant
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argued that he should have been released on bond because he is

gainfully employed, has family members who would “put up land in

exchange for a reasonable bond,” and because Judge Frazier denied

his family members the opportunity to testify at the detention

hearing.    (Doc.   #    120).     The     Government   filed    a    response   in

opposition to Defendant’s Motion for Rehearing on Bond in which the

Government presented the following arguments:

      The Government has no recollection of the defendant being
      denied the ability to present information by way of
      proffer or testimony of witnesses. The additional basis
      that the Defendant wishes the Court to consider for
      granting a new bond hearing does not address one of the
      Court’s primary findings, namely that the safety of any
      other person and the community cannot be assured. The
      defendant’s criminal history includes a conviction for
      Armed Robbery and Possession with Intent to Sell Cocaine.
      Additionally, the defendant tested positive for marijuana
      and admitted to using cocaine one week prior to his
      arrest.   The Government contends that the additional
      facts presented by the defendant in the motion for
      rehearing on bond do not overcome the presumptions
      associated with the offense for which the defendant is
      charged.

(Doc. # 146 at 2).

      In an Order dated September 13, 2005, Judge Frazier denied

Defendant’s Motion for Rehearing on Bond, resting on the same

reasons stated in the original Order of Detention Pending Trial.

(Doc.   #   148).       Judge    Frazier    also   noted   in   his   order   that

“Defendant was allowed to proffer the testimony of any witnesses.”

(Doc. # 148).

      Defendant has now appealed Judge Frazier’s decision to deny

bond.    Defendant’s appellate brief focuses on the argument that

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Defendant was denied the opportunity to have family members testify

at the detention hearing.

      Pursuant to 18 U.S.C. § 3145, this matter is before the Court

for an independent, de novo review.1          This Court must determine

whether the Magistrate Judge properly concluded that pretrial

detention was warranted.      United States v. King, 849 F.2d 485, 490

(11th Cir. 1988).     Pursuant to 18 U.S.C. § 3142, denial of release

rests on two factors: (1) risk of flight; and (2) danger to any

other person or to the community. With each factor, the government

bears the burden of proof.      As to risk of flight, the government’s

burden is preponderance of the evidence. See United States v.



      1
       In discussing the split in the Circuits concerning the
standard of review to be applied in Bail Reform Act cases, the
Eleventh Circuit instructed as follows:

      We find persuasive and adopt the more expansive view of
      the First, Third, Sixth, Eighth, and Ninth Circuits and
      characterize these cases as presenting mixed questions of
      law and fact to be accorded plenary review on appeal.
      However, we will be chary of disturbing the purely
      factual findings of the trial court and will do so only
      if such findings are clearly erroneous. Accordingly, we
      hold that the criteria set forth at 18 U.S.C.A. §
      3142(g)(3) and (4) pose factual questions pertaining to
      individual characteristics of the defendant . . . subject
      to the clearly erroneous standard of review. The factors
      articulated in subsections (1) and (2), and those set
      forth at Section 3142(c)(2)(A) through (N) are
      fundamentally different in that they require the trial
      court to exercise judgment and discretion . . . rendering
      such determinations mixed questions subject to de novo
      review before this court.

United States v. Hurtado, 779 F.2d 1467, 1471-1472 (11th Cir.
1985).
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Chimurenga, 760 F.2d 400, 405-406 (2d Cir. 1985); United States v.

Fortna, 769 F.2d 243, 250 (5th Cir. 1985); United States v.

Montamedi,    767    F.2d    1403,   1406-07    (9th   Cir.   1985).   As    to

dangerousness, the government must present clear and convincing

evidence of the danger the Defendant poses.                   See 18 U.S.C. §

3142(f) (explicitly establishing the burden of proof as “clear and

convincing”).       A finding of either danger to the community or risk

of flight is sufficient to deny pretrial release; it is not

necessary to find both factors present in order to detain a

defendant pending trial.         King, 849 F.2d at 488.

      Upon   review     of   a   Magistrate’s    bond    determination,     the

reviewing court may adopt the decision of the Magistrate or order

further hearings.       King, 849 F.2d at 490-491.

      In considering this matter, the Court has carefully reviewed

the pleadings filed in this proceeding, the transcript of the

hearing (Doc. # 236), and the findings issued by the Magistrate

Judge. (Doc. # 77).

      At the outset, it should be noted that Defendant’s primary

argument, that Judge Frazier did not permit Defendant’s family

members to testify at the detention hearing, is without merit.

The transcript of Defendant’s detention hearing of August 22, 2005

contains no statement by Judge Frazier refusing to allow Defendant




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to put on witnesses.2       The undersigned thus adopts Judge Frazier’s

order of detention for the reasons that follow.

        The Defendant is charged with Conspiracy to Possess with

Intent to Distribute Five (5) Kilograms or more of Cocaine and

Fifty (50) grams or more of Cocaine Base in violation of Title 21,

United States Code, Sections 841(a)(1), 841(b)(1)(A) and 846. (Doc.

# 7).

            The Magistrate Judge found that the evidence at the detention

hearing established that Defendant posed a safety risk to the

community.        Judge Frazier determined that the presumption created

by Title 18, United States Code, Section 3142(g), had not been

overcome.3       (Doc. # 77).   Judge Frazier found that “no condition or


        2
         During the hearing, Defendant’s attorney Mr. Harris,
stated, “I have his mother here, who’s a well-respected real estate
agent here in town. His father of course is deceased. I have his
brother here, Riley Ware.     Mrs. Ware would be glad to put up
property on his behalf and become a third-party custodian on his
behalf.” (Doc. # 236 at 5-6).    However, the record does not show
that Defendant called his Mrs. Ware or Riley Ware. This Court does
not conclude from the lack of testimony of these witnesses that
Judge Frazier prohibited Defendant from offering their testimony.
        3
            18 U.S.C. § 3142(g) states in pertinent part:

        Factors to be considered. The judicial officer shall, in
        determining whether there are conditions of release that
        will reasonably assure the appearance of the person as
        required and the safety of any other person and the
        community, take into account the available information
        concerning (1) the nature and circumstances of the
        offense charged, including whether the offense is a crime
        of   violence,   or  an   offense   listed   in   section
        2332b(g)(5)(B) for which a maximum term of imprisonment
        of 10 years or more is prescribed or involves a narcotic
                                                        (continued...)
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combination of conditions of release will reasonably assure the

appearance of the Defendant as required or the safety of any other

person and the community.” (Doc. # 77).           This Court agrees.

      In this case, the only basis for appeal Defendant identified

was   that   the   Magistrate   forbade     Defendant   from   offering   the

testimony    of    his   relatives   at    the   detention   hearing.     The

transcript of the testimony does not support Defendant’s argument.

The Defendant has failed to identify any statements from Judge

Frazier indicating that witnesses would not be allowed.                    In

addition, this Court’s review of the transcript of the detention

hearing does not support that Defendant was denied the opportunity

to present witnesses.       Defendant has not demonstrated any reason

for this Court to permit a re-hearing on the issue of bond.             Due to

Defendant’s prior convictions, the pretrial services report, and

the proffers noted in the record below, this Court determines that

the Magistrate ruled correctly in denying bond, and that no

condition of pretrial release could assure the appearance of



      3
       (...continued)
      drug; (2) the weight of the evidence against the person;
      (3) the history and characteristics of the person,
      including (A) the person’s character, physical and
      mental, family ties, employment, financial resources,
      length of residence in the community, community ties,
      past conduct, history relating to drug and alcohol abuse,
      criminal history, and record concerning appearance at
      court proceedings; and (B) whether, at the time of the
      current offense or arrest, the person was on probation on
      parole, or on other release pending trial, sentencing
      . . .
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Defendant at trial as required or the safety of any other person

and the community.

      Accordingly, it is hereby

      ORDERED, ADJUDGED, and DECREED:

(1) The Order of Detention and Order denying Defendant’s Motion for

an additional bond hearing are AFFIRMED and ADOPTED.

      DONE and ORDERED in Chambers in Ft. Myers, Florida, this 14th

day of November, 2005.




Copies:

All Counsel of Record




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